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                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
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                                      of 54                                   3/30/2022 2:07               PM
                                                                                                 Velva L. Price
                                                                                                 District Clerk
                                                                                                Travis County
                                                                                             D-1-GN-18001835
                                    D'I'GN'18'001835                                            Selina Hamilton

  NEIL HESLIN and                                                     IN DISTRICT COURT OF




                                                 §§§§§§§§
  SCARLETT LEWIS
                                                                  TRAVIS COUNTY, TEXAS
  VS.
                                                                       2615'   DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,
  FREE SPEECH SYSTEMS, LLC,
  and OWEN SHROYER



         PLAINTIFFS' THIRD SUPPLEMENTAL DESIGNATION OF EXPERTS



        COMES NOW, Neil Heslin and Scarlett Lewis, Plaintiffs, and ﬁles this Third

 Supplemental Designation of Expert Witnesses, and in supplementation of all prior discovery

 requests requesting identiﬁcation of expert witnesses, as follows:

                                                 I.


        Plaintiff's Non-Retained Medical Experts

        W. Michael Crouch, LCSW
        And Custodians of Medical and Billing Records
        999 Summer Street, Ste. 200
        Stamford, CT 06905
        (203) 961-1152

        All medical  care providers listed above may testify regarding matters contained in their
        records and depositions. Their observations, diagnosis, opinions, prognosis, facts, physical
        and clinical examinations, and tests done, reviewed or relied upon are incorporated herein
        by reference. This includes opinions regarding Plaintiff' s pain, mental anguish, medical
        care, medical expenses, limitations, physical impairment, or any other medical issue in this
        case. The Custodians of Records will authenticate the records.

        Plaintiff is unaware of the general substance of these experts' mental impressions and
        opinions, as they are treating physicians and custodians of records. However, presumably
        the general substance of these experts' impressions and opinions would be as contained in
        their respective records.




                                                  I
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       Plaintiff's Retained Experts

       Fred Zipp
       University of Texas School of Journalism
       300 W Dean Keeton St
       Austin, TX 78712
       (512) 471-1845

       Mr. Zipp is a former newspaper editor and journalism professor. He will offer his expertise
       concerning the standards of care in news reporting, and he will opine on how those
       standards were recklessly disregarded in this case. Mr. Zipp will opine that Defendants
       ignored elementary precautions in journalism. Mr. Zipp will also opine that Defendants
       entertained serious doubts about the accuracy of their statements. Mr. Zipp will analyze the
       facts and circumstances of the publications which show that Defendants were motivated
       by a desire to avoid the truth and to inﬂict harm on Plaintiff. Materials reviewed by Mr.
       Zipp are being produced as SANDY HOOK-000001-000642. Mr. Zipp has also reviewed
       the March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex
       Jones, the November 26, 2019 deposition of Free Speech Systems, and the November 27,
       2019 deposition of Paul Watson. Mr. Zipp has also reviewed the YouTube video clips
       described in his afﬁdavits submitted in response to Defendants' TCPA Motions. Mr. Zipp
       has also reviewed the Videos produced as SH VIDEO 13, consisting of Megyn Kelly's
       proﬁle of Alex Jones, and SH VIDEO 14, consisting of Anderson Cooper's Interview with
       Veronique De La Rosa. Mr. Zipp has also reviewed Plaintiff's petition. Mr. Zipp has also
       reviewed Plaintiff's discovery requests and Defendants' responses. Mr. Zipp's curriculum
       vitae is attached hereto as Exhibit "1."

       1naddition to the materials described above, Mr. Zipp has viewed the following videos or
       portions thereof:

      Title                                         Date                     Produced as

  1   Connecticut School Massacre Looks Like        December 14, 2012        SH VIDEO    1

      False Flag Says Witnesses

  2   Creepy Illuminati Message in Batman           December 17, 2012        F2mRuEhmoGA
      Movie Hints at Sandy Hook School

      Sandy Hook 2nd Shooter Cover-Up               December 19, 2012        6W6b-Voc-Ds

  4   Sandy Hook Father Remembers Fallen            December 19, 2012        8cZkHDH16nQ
      Hero

  5   Lower Part of Gotham Renamed "Sandy           December 21, 2012        Fus 1 FpQiU-Q
      Hook" 1n Dark Knight Film

  6   Callers React to Foreign Media Pushing        January 4, 2013          SH VIDEO 2
      Total Gun Conﬁscation

                                                2
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       Prof. Claims Sandy Hook Massacre MSM       January 10, 2013     D8GxrKJDSL8
       Misinformation

  9    Sandy Hook AR-15 Hoax? Still No            January 15, 2013     Oo74myC3bqY
       School Surveillance Footage

  10   Clearing Up Some Disinfo on Sandy          January 18, 2013     SH VIDEO   3
       Hook Massacre with James Tracy

  ll   Why People Think Sandy Hook is a Hoax      January 27, 2013     tMSZdo-IgEE

  12   Dr. Steve Pieczenik: Sandy Hook was    A   March 27, 2013       5EfyD7Wu5fQ
       Total False Flag!

  13   Crisis Actors Used at Sandy Hook!          Apri1 1, 2013        shQSVhSOth
       Special Report

  14   Obama Gun Grab Psyop                       Apri1 9, 2013        SH VIDEO 4

  15   Shadow Govt Strike Again                   Apri116,2013         SH VIDEO   5


  16   Sandy Hook Police Ordered to Stand         November 23, 2013    xP9ﬂ1KUaudo
       Down?

  17   Sandy Hook Investigator Stonewalled and    February 20, 2014    oGpWtqdiSCY
       Threatened

  18   Sandy Hook, False Narratives Vs. The       March 14, 2014       eslvAOZaIlw
       Reality

  l9 Revealed: Sandy Hook Truth Exposed           May 9,2014           _rSLOYCHNdw

  20   Sandy Hook "Ofﬁcials" Caught   1n          May 13,2014          MH6hm11h-iQ
       Coverup And Running Scared

  21   Bombshell: Sandy Hook Massacre Was A       May 13, 2014         x2a1FWYEZS4
       DHS Illusion Says School Safety Expert

  22   Sandy Hook Deaths Missing From FBI         September 25, 2014   A2ZOZUZBn7k
       Report

  23   Sandy Hook Film Censorship Efforts         December 12, 2014    4T 8_WYZH5 SM
       Backﬁre

  24   The Ultimate Sandy Hook Debate As The      December 12, 2014    6aK0P-wXjU8
       2nd Anniversary Looms
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  25   Will Bushmaster Lawsuit Reveal Sandy          December 16, 2014   BFquDLAcLQ
       Hook Hoax?

  26   Lawsuit Could Reveal Truth About Sandy        December 27, 2014   kK8CnlBA928
       Hook Massacre

  27   America the False Democracy                   December 28, 2014   SH VIDEO   6


  28   Why We Accept Govt Lies                       January 13, 2015    SH VIDEO   7


  29   Title Unknown Video discussing
                      




                                                     February l2, 2015   SH VIDEO   8
       HONR Network

  30   New Bombshell Sandy Hook Information          March 4, 2015       _7ib5WkULBY
       In-Bound

  31   New Sandy Hook Questions Arise from           May 29, 2015        501179t7Mrw
       FOIA Hearing

  32   Sandy Hook: The Lies Keep Growing             May 29, 2015        Ml3KVj 2nVRA

  33   School Administrator Exposes Sandy            May 29, 2015        SO8Xb-t4nT4
       Hook Stonewall

  34   Ofﬁcial Claims DHS Involved in Sandy          June 4, 2015        BstyH2Wa0E
       Hook

  35   Govt is Manufacturing Crises                  July 7, 2015        SH VIDEO   9


  36   Retired FBI Agent Investigates Sandy          July 7, 2015        jCOe3qlgyFA
       Hook: MEGA MASSIVE COVER UP

  37   The Fight for Freedom of Information in       July 8, 2015        10miXJ-djeA
       Sandy Hook

  38   Alex Jones Final Statement on Sandy           November 18, 2016   MwudDfzI yAk
       Hook

  39   Hunt for Wikileaks Source Begins              March 8, 2017       SH VIDEO 10

  40   Sandy Hook Vampires Exposed                   Apri122, 2017       rUn lehWTXl

  41   Media Refuses To Report Alex Jones'           June 13,2017        kf2F7RxJ9e4
       Real Statements On Sandy Hook

  42   Zero Hedge Discovers Anomaly In Alex          June 26, 2017       SH VIDEO 1 l
       Jones Hit Piece

                                                 4
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  43   JFK Assassination Documents To DROP          October 26, 2017           SH VIDEO     12
       Tonight

  44   Watch as Megyn Kelly Opens Old               Apri120, 2018              uQkAJykqyeo
       Wounds Of Sandy Hook Victims




        Becca Lewis
        Stanford University, Department of Communication
        Building 120, Room 110
        450 Jane Stanford Way
        Stanford, CA 94305
        (650) 723-1941

        Ms. Lewis is an academic researcher in the ﬁeld of media technologies and online
        discourse, with a focus on media manipulation and disinformation. Ms. Lewis will offer
        her expertise on digital political subcultures, internet celebrity, and online news platforms.
        Ms. Lewis will testify about lnfoWars' cultural footprint and role in the online media
        ecosystem. Ms. Lewis will opine that Defendants' actions were a substantial factor in the
        spread of false facts about the Sandy Hook shooting. Materials reviewed by Ms. Lewis are
        being produced as SANDY HOOK-000627-002142. Ms. Lewis has also reviewed the
        March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition of Alex Jones,
        and the November 27, 2019 deposition of Paul Watson. Ms. Lewis has also reviewed the
        June 26, 2017 Video entitled "Zero Hedge Discovers Anomaly In Alex Jones Hit Piece"
        and the April 22, 2017 Video entitled "Sandy Hook Vampires Exposed" Ms. Lewis has
        also reviewed FSSTX-082669-082812; FSSTX-085731-FSSTX-086492; FSSTX-086569-
        FSSTX-086583; FSSTX-O86588-FSSTX-O86589. Ms. Lewis has also reviewed Plaintiff's
        petition. Ms. Lewis has also reviewed Plaintiff's discovery requests and Defendants'
        responses. Ms. Lewis' curriculum vitae is attached as Exhibit "2."


        Dr. Roy Lubit
        165 West End Ave #3k
        New York, NY 10023
        (917) 846-7829

        Dr. Lubit is a forensic psychiatrist with expertise in the impact of stress and emotional
        trauma. Dr. Lubit will testify about Plaintiff's mental injury and the psychological stresses
        involved from Defendants' false statements and denial of Plaintiff' s trauma. Dr. Lubit will
        opine that Defendants' actions were a substantial factor in Plaintiff's severe mental anguish
        and continuing grief. Dr. Lubit will testify about his evaluation of Plaintiff. Dr. Lubit's
        curriculum Vitae is attached as Exhibit "3."
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        Bernard Pettingill
        93 Sandboume Lane
        Palm Beach Gardens, Florida, 33418
        561-622-0330

        Mr. Pettingill is a forensic economist. Mr. Pettingill will provide opinions about the net
        worth and ﬁnancial condition of the Defendants. Mr. Pettingill will review Defendants' net
        worth interrogatory answers, documents produced in response to net worth discovery, the
        deposition of Brittany Paz as Free Speech Systems' corporate representative on the topic
        of net worth, the document produced by Defendants purporting to set forth operating
        expenditures and proﬁt-loss ﬁgures, the documents and notes brought by Ms. Paz to
        deposition, the purported 2020 balance sheet, 2020 UCC ﬁnancing statement, and FSSTX-
        086585 FSSTX-086615. Mr. Pettingill's CV is attached as Exhibit "4."
                




                                                 II.

        Plaintiff reserves the right to supplement this designation with additional designations of

 experts within the time limits imposed by the Court or any alterations of same by subsequent Court

 Order or agreement of the parties, or pursuant to the Texas Rules of Civil Procedure and/or the

 Texas Rules of Civil Evidence.

                                                 111.


        Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose testimony

 cannot reasonably be foreseen until the presentation of the evidence against Plaintiff.

                                                 1V.

        Plaintiff reserves the right to withdraw the designation of any expert and to aver positively

 that any such previously designated expert    will not be called   as a witness at trial, and to re-


 designate same as a consulting expert, who cannot be called by opposing counsel.

                                                 V.

        Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at the time

 of trial which would be truthful, which would be of beneﬁt to the jury to determine material issues

 of fact, and which would not be violative of any existing Court Order or the Texas Rules of Civil

 Procedure.

                                                  6
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                                                      VI.

         Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

 witnesses associated with adverse parties, all parties to this suit and all experts designated by any

 party to this suit, even   if the designating party is not a party to the suit at the time of trial.   In the

 event a present or ﬁlture party designates an expert but then is dismissed for any reason from the

 suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

 such party or any such experts previously designated by any party.



                                                     VII.

         Plaintiff reserves Whatever additional rights they might have with regard to experts,

 pursuant to the Texas Rules      of Civil Procedure, the Texas Rules of Civil Evidence,       the case law


 construing same, and the rulings of the trial court.

                                                   Respectfully submitted,

                                                   KASTER LYNCH FARRAR & BALL, LLP

                                                       WW
                                                   MARK D. BANKSTON
                                                   State Bar No. 24071066
                                                   WILLIAM R. OGDEN
                                                   State Bar No. 24073531
                                                    II I7 Herkimer
                                                   Houston, Texas 77008
                                                   (7 I 3) 22 I -8300 Telephone
                                                   (713) 221-8301 Fax

                                                   ATTORNEYS FOR PLAINTIFF




                                                       7
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                                CERTIFICATE OF SERVICE
        I hereby certify that on 30'" day of March, 2022, the forgoing document was served upon
 all counsel of record Via electronic service.




                                            WW
                                            MARK D. BANKSTON
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     Fred Zipp
     2219 Holly St.
     Austin TX 78702
     fred.zipp@vahoo.com
     512.589.4593



     Experience

     Editor in residence, University of Texas            2012-2021
     Department of Journalism

     Austin American-Statesman                           1998-201 1
     Editor (2009-201 1), managing editor (2000-2009), assistant managing editor (1998-2000)

     The Palm Beach Post                                1987-1998
     Metro editor (1992-1997), news editor (1991-1992), deputy metro editor (1990-1991),
     assistant metro editor (1987-1990)

     Austin Amen'can-Statesman                            1984-1987
     City editor (1986-1987), sports editor (1985-86), sports copy editor (1984-1985)

     Beaumont Enterprise                                   1979-1984
     Assistant city editor (1982-1984), various reporting positions (1979-1982)



     Education

    New York University                               1978-1979
            Masters degree program, Department of French and Italian

     University of Paris 1V                              1977-197 8
            Film analysis and semiotics

     Duke University                                     1973-1978
           A.B., history and French
            Graduated magna cum laude



     Professional development and afﬁliations
     Headliners Foundation of Texas                     2013-present
            Governor; chair, professional excellence committee

     American Society of News Editors                    20002011
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            Served on First Amendment Committee; assisted in the organization of the ﬁrst
     Sunshine Week promoting open, transparent government throughout the United States

     Freedom of Information Foundation of Texas         2000-2011
           Director and ofﬁcer
           Edited revised edition of the Freedom of Information Handbook

     Completed numerous professional development programs in leadership, management and
     craft skills through the Poynter Institute, American Press Institute, Cox Enterprises
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                                       REBECCA C. LEWIS
                               Department of Communication Stanford University
                                                              




                                           Stanford, CA 943052050
                                         beccalewis@protonmail.com

 EDUCATION
  Stanford University, Department of Communication
         PhD Candidate in Communication Theory and Research, September 2018               


                                                                                              present
         Advisor: Fred Turner

 University of Oxford, Oxford Internet Institute
       MSc in the Social Science of the Internet, graduated November 2016
       Thesis: 'Caﬂdz'date: ofInslagrain.' Soeial Media Imagegz in the 2076 US. Presidential Primaries"

  Columbia University, Columbia College
       BA in Film Studies, graduated May 2011
       Thesis: "Going Viral: The Role of YonTnbe Sensations in a   Cit/tare ofMemes
                                                                                      "


 FELLOWSHIPS AND AFFILIATIONS
  Stanford University, Stanford Graduate Fellowship
         Gerhard Casper Fellow, September 2018 present 




 University of North Carolina at Chapel Hill, Center for Information, Technology,              8c   Public Life
         Graduate Affiliate, September 2020     


                                                    present

 Data & Society Research Institute
         Research Affiliate, September 2018     


                                                    present

 Lightspark Foundation, Impact Guild
         Impact Guild Fellow for Social Good, 2020

  REFEREED |OURNAL PUBLICATIONS
 2021. Lewis, Rebecca and Angele Christin. "Platform Drama: 'Cancel Culture,' Celebrity, and the
         Struggle for Accountability on YouTube." Accepted with revisions at New Media é" Soeiegjl.

  2021. Christin, Angele and Rebecca Lewis. "The Drama of Metrics: Status and Hierarchies Among
         YouTube Drama Creators." S oeial Media + Sociegjx.
         https://doi.org/10.1177/2056305121999660

  2021 , February 3. Lewis, Rebecca, Alice Marwick, and William Parton.
                                                                   "'We Dissect Stupidity and
         Respond to It': Response Videos and Networked Harassment on YouTube." American
         Benaniora/ Seieniirz'. https://doiorg.stanford.idm.oclc.org/10.1177/0002764221989781


  2019, October 17. Lewis, Rebecca. "'This is what the news won't show you': YouTube creators and
         the reactionary politics of micro-celebrity." Television and New Media.
         https://doi.org/10.1177/1527476419879919



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                                      of 54

 WHITE PAPERS AND PUBLIC POLICY REPORTS
 2018. Lewis, Rebecca. Alternatioe Influence: Broadcasting the Reactionary Right on YouTube. New York:
        Data & Society Research Institute. https:/ /datasociety.net/library/alternativeinfluence/
         Covered by The New York Times, The Guardian, Columbia journalism Review and on NPR
         Weekend Edition

 2017. Marwick, Alice and Lewis, Rebecca. Media Manibulation and Disinformation Online. New York:
        Data & Society Research Institute. https://datasociety.net/library/media-manipulation-and-
          disinfo-online/
          Covered by The New York Times, The Guardian, CNN, The Today S how, and Business Insider

 BOOK CHAPTERS
 2019. Donovan,]oan, Becca Lewis, and Brian Friedberg. "Parallel Ports: Sociotechnical Change
        from the Alt-Right to Alt-Tech." In Post-Digital Cultures of the Far Right: Online Actions and
        Oﬂline Consequences in Europe and the US (Maik Fielitz and Nick Thurston, eds.). Verlag,
        Bielefeld: Transcript Press.

  2017, December 15. Lewis, Rebecca and Alice Marwick. "Taking the red pill: Ideological
         motivations for spreading online disinformation." Understanding and addressing the disinformation
         ecosystem. Philadelphia, PA: First Draft News. https:// firstdraftnews.org/wp
          content/ uploads / 201 8/ 03 /TheDisinformationEcosystemZO1 80207V2.pdf

  REFEREED PRESENTATIONS
 2021, August 5. Lewis, Rebecca and Angéle Christin. "Platform Drama: 'Cancel Culture,' Celebrity,
        and the Struggle for Accountability on YouTube." American Sociology Association Media
        Preconﬁarence, held remotely.


 2020, May 21. Lewis, Rebecca, Alice Marwick, and William Partin. "'We Dissect Stupidity and
        Respond to It: Response Videos and Networked Harassment." International Communication
        Association Annual Meeting, held remotely.


 2019, October 3. Lewis, Rebecca and Leon Yin. "Far-Right YouTube and Search Engine
        Optimization: Manipulations in 'Ranking Cultures."' Association ofInternet Researchers,
        Brisbane, Australia.

 2019, September 7. Lewis, Rebecca. "Performed Persona Scams: Deceptive Personal Branding and
         Shifting Concepts of Fraud on Social Media Platforms." Meeting of the S ocietjl for the Social
         Studies of Science, New Orleans, LA.


 2019, August 13. Friedberg, Brian and Rebecca Lewis. "Parallel Ports: Sociotechnical Change from
        the 'AltRight' to Alttech." American Sociology Association. New York City, NY.


  2019, May 28. Davison, Patrick, Rebecca Lewis, and Alice Marwick. "'You Are the Meme Militia':
         How Alt-Right Digital Media Perpetuates White Supremacy." International Communication
         Association Annual Meeting, Washington,   DC.



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 2019, March 15. Lewis, Rebecca. "Celebrity, Fandom, and the Source Credibility of Political
        Influencers." Bantam Sodo/ogz'ccz/ 50mg Annual Meeting, Boston, Massachusetts.

  2018, August 10. Lewis, Rebecca. "Candidates of Instagram: Political Image-Building and the Co-
         optation of Micro-Celebrity Online." American Sociology Arrooz'otz'on Media Preeonfereme,
         Philadelphia, Pennsylvania.

  INVITED PRESENTATIONS
  2021, August 20. "Researching far-right movements online: an introduction to methods."
         Presentation at the Institute for Research on Male Supremacism's Summer Institute on
         Contesting Supremacism, held remotely.

  2021,]uly 17. "Authoritarian cults, media indoctrination, and shared psychosis." Panel presentation
         at the World Mental Health Coalition Project for National Healing Series, held remotely.


 2021,]une 23. "Radicalization: From conspiracy theories to Violent extremism" Panel discussion at
        the Atlantic Council's 360/ Open Summit, held remotely.
        https: / /Www.youtube.com/watch?v=_tThGy3FH-8

 2021,]une 11. "Racism and Radicalization in the Digital Age: A Robust Response." Keynote speech
        at the National Council of Urban Education Associates 2021 Virtual Summer Meeting, held
         remotely.

 2021,]anuary 26. "How did we get here? Where do we go next? Information, media & U.S.
        democracy." Panel discussion at the University of North Carolina Chapel Hill's CITAP
        Center, held remotely.

 2020, December 11. "Hate Not Found: The Politics of Deplatforming the Far Right." Panel
        presentation at public conference in Berlin, Germany, joined remotely.

 2020, November 16. "Internet hate speech: What can we do?" Panel presentation at Middlebury
        College, held remotely.

 2019, October 13. "Alternative Inﬂuence: Broadcasting the Reactionary Right on YouTube."
        Presentation at Cultural Formations of the 'AltRight' Symposium, University of Michigan,
         Ann Arbor, MI.

 2019, April 17. "The Fake News Cycle: Searching for Truth in the Digital Age." Panel presentation
        at Washington University, St. Louis, MO.


  2018, October 12. "What is the   FATE of Platforms? Fairness, Accountability, Transparency and
         Ethics Under Review." Panel presentation at Concordia University, Montreal, Quebec.

 2018, April 13. "Media Manipulation and the Online FarRight." Annual Faculty Symposium:
        Techno Cultures in the 215' Century. Borough of Manhattan Community College, New
         York, NY.




                                                                                                        3
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 2018, March 8. "Looking past the facts: a sociotechnical approach to fake news, media manipulation,
        and the fartight alternative press." Presented with Alice Marwick at University of North
        Carolina at Chapel Hill.

 2017, December 15 16. Lewis, Rebecca and Marwick, Alice. "Taking the Red Pill: Ideological
                      




        Motivations for Spreading Online    Disinformation." Understanding and Addressing the
        Disinformation Ecosystem, University of Pennsylvania Annenberg School for
         Communication, Philadelphia, PA.

 2017, December 4. "Media Manipulation and Disinformation." Nouvelles Pratiques du Journalisme
        2017. Sciences Po Ecole dejournalisme, Paris, France.

 2017, September 25. "Comparative Lessons from Violent Extremism and Far-Right Subcultures."
         Perspectives on Why Audiences Are Susceptible to Disinformation. National Endowment
         for Democracy, Washington, D.C.

  RESEARCH & PROFESSIONAL POSITIONS
 Data 8c Society, New York, New York
 Affiliated Researcher, September 2018 present   




 Fulltime Researcher, February 2017 August 2018
                                             




 Media Manipulation Project
    0   Lead Researchers: danah boyd, Founder and President of Data 8c Society; Alice Marwick,
        Associate Professor of Communication at UNC Chapel Hill; and Joan Donovan, Research
        Director of the Shorenstein Center on Media, Politics, and Public Policy
     0
         Project explored the manipulation of public discourse by state and non-state actors on social
         media platforms, with particular focus on the media manipulation tactics of online farright
         extremists in the United States

 University of Oxford, Reuters Institute for the Study of Journalism
 Research Assistant, October 2015 ]anuary 2016
 Online New; and Digital Infemzediarier Project
     O   Lead Researchers: Rasmus Kleis Nielsen, Director of Research and Sarah Anne Gantner,
         Research Fellow
     O
         Project focused on the effects of digital intermediaries (such as Google, Facebook, and
         Twitter) on traditional news media organizations and government policies

  Crimson Hexagon, Boston, MA; October 2011        August 2015
                                                     




 Crimson Hexagon delivers social media data analytics for corporations and research institutions. It is
 powered by technology developed by Professor Gary King at the Harvard Institute for Quantitative
 Social Science.

 Director of 5ocial Impact, Augmt 2074 Augmt 20 75
                                         




     O   Founded and led the company's Social Impact Program, which provided academic, notfor
         profit researchers with grants in the form of access to the ForSight social media analytics
         platform
  Client Sen/ices Manager, August 201 1 Augurt 2074
                                     




      0    Established social media research methodologies with clients and taught them social media
           analysis techniques
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 EDITORIALS AND POPULAR PRESS
 2021, August 2. "Space-Cowboys: What Internet history tells us about the inevitable shortcomings
        of a techbro led Space Race." Tec/J Polig/ Prem. https://techpolicy.press/spacecowboys
        What-internet-history-tells-us-about-the-inevitable-shortcomings-of-a-tech-bro-led-space-
        race/

 2021,]anuary 17. "The Trump ban across social media wasn't censorship it was a series of editorial
                                                                            




        decisions by media companies that call themselves social platforms" Business Insider.
        https: / /www.businessinsider.com/trump-ban-wasnt-censorship-it-was-an-editorial-decision-
         2021-1

  2020, December 11. "I warned in 2018 YouTube was fueling far-right extremism. Here's what the
         platform should be doing." The Guardian.
         https: / / www.theguardian.com / technology/ 2020 / dec / 1 1 /youtubeislamophobia-
         Christchurchshooterhatespeech

  2020,]anuary 7. "All of YouTube, Not Just the Algorithm, is a Far-Right Propaganda Machine."
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                  




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  SELECTED MEDIA APPEARANCES
 2021,]uly   6."Episode 3: Talking About Garbage." Doe: Not Compute Podeaxt at University of North
          Carolina's Center for Information, Technology, and Public Life. https:/ /citap.unc.edu/does
          not-compute/episode-3 /

 2021, March 2. "Planet YouTube." In hind oftbe Giantx.' The Google Empire.
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  2021 ,January 21.    "How YouTube Normalizes Right-Wing Extremism w/ Becca Lewis." Tee/9 Won't
          Sane    U: with Paris Marx. https: / / podcasts.apple.com / us / podcast/ howyoutube-normalizes-
          rightWingextremismWbeccalewis/id1 507621076?i=1000506047370

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         Marketplace    Tee/9.
                           https://www.marketplace.org/2019/03/19/extremists-are-being-
          radicalized-onlinewhose-responsibility-is-it/

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        Right." Southern Poverty Law Center Hatewatoh.
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        critical race theory panic." The Guardian.
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        network-breeds-rightwingradicalisation

 TEACHING EXPERIENCE

 Teaching Assistant, Stanford University
        COMM 1B: Media, Culture, and Society (Professor Fred Turner) Winter 2020
                                                                              




        COMM 154254: The Politics of Algorithms (Professor Angéle Christin) Fall 2019  




        COMM 124-224: Lies, Trust, and Technology (Professorjeffrey Hancock) Winter 2019    




 Published syllabi
        2017. Media Manipulation and Disinformation Online Syllabus. Data         8c   Society.
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        MediaManipulationAndDisinformationOnline.pdf




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                                     CURRICULUM VITAE

                                     Roy H. Lubit MD, Ph.D.
                                   165 West End Ave. Suite 3K
                                      New York, NY 10023
                                            917-846-7829
                                          roylubitgQrcn.com

UNDERGRADUATE EDUCATION

JUNE   1975   BA, Cornell University,   Ithaca,   NY.
              Academics: double major in history and chemistry.


MEDICAL EDUCATION

June 1979     MD, New York University School of Medicine, New York, NY.


POSTDOCTORAL TRAINING IN PSYCHIATRY

6/79-6/83     Psychiatry Residency, Yale University School of Medicine, New Haven, CT.

7/83-6/85     Child Psychiatry Residency, The Children's Hospital, Boston, MA.

7/85-6/87     Advanced Psychotherapy Fellowship, Adams House, Boston, MA.

7/01-6/02     Forensic Psychiatry Fellowship, St. Vincent's Hospital, New York, NY.


INTERNATIONAL RELATIONS
1997          Ph.D. in Political Science, GSAS, Harvard University, Cambridge.
              Dissertation explored impact of organizational learning on international conﬂict.


CERTIFICATIONS
Diplomate, American Board of Psychiatry and Neurology, 1984.
Diplomate, American Board of Child and Adolescent Psychiatry, 2003.
Diplomate, American Board of Forensic Psychiatry, 2003.
New York State Medical License 205720-1.
National Board of Medical Examiners, 1980.
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                                             FORENSIC QUALIFICATIONS
          Special expertise in evaluating emotional trauma, civil rights (section 1983 actions), child custody evaluations,
brain injury, psychological/psychiatric malpractice and critiquing forensic evaluations

Board Certiﬁcations
         Psychiatry and Neurology
         Child Psychiatry
         Forensic Psychiatry

Declared an Expert in Psychiatry and/or child psychiatry in:
        Bronx Family Court              Bronx Supreme Court
        Brooklyn Family   Court                  Brooklyn Supreme Court
        Manhattan Family Court                   Manhattan Supreme Court
        Queens Family Court             Queens Supreme Court
        Richmond County Supreme Court            Suffolk County Supreme Court
        Westchester County Court                 Norfolk County Superior Court in Massachusetts
        Butler County Virginia Court Manhattan Criminal Court
        Federal court, NY Eastern District

Organizational Afﬁliations:
         Consultant to Children and Law Committee of Association of the Bar of the City of NY
Publications
         Ethics in Psychiatry in Sadock B. and Sadock V. (eds.) Comprehensive Textbook of Psychiatry. 9th edition. Phil:
         Lippincott, Williams & Wilkins. (in press.)
         Ethics in Psychiatry (with Eth S. and Ladds B.) in Sadock B. and Sadock V. (eds) Comprehensive Textbook of
         Psychiatry. 8th edition. Phil: Lippincott, Williams & Wilkins. (2004)
         Forensic Psychiatric/Psychological Assessments (in preparation).
         Forensic Evaluation of Trauma Syndromes by Lubit R, Hartwell N, van Gorp WG, Eth S. in Child and
         Adolescent Psychiati'ic Clinics of North America. 2002 Oct; 11(4):823-57.
         Juvenile Delinquency, (with Billick) in Rosner (ed.) Principles and Practice of Forensic Psychiatry (2003).
         Child Custody Evaluations in K. Cheng and K. Myers (ed.) Child and Adolescent Psychiarnv.' The Essentials.
         Lippincott Williams & Wilkins (2005).
         Diagnosis and Treatment of Trauma on Children in K. Cheng and K. Myers (ed.) Child and Adolescent
         Psychiatry: The Essentials. Lippincott Williams & Wilkins (2005).
Presentations
         Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2009
         Assessing Forensic Evaluations Rose Seminar, Minneapolis September 11, 2008
         "Family Courts and Child Custody: A System Needing Change: Zigler Center at Yale April 11, 2008
          "Child Abuse Evaluations" Symposium sponsored by Children and Family Law Committee of the Bar
         Association of the City of NY, January 23, 2008
      "Doing Forensic Evaluations" Joint Conference of the British Arab Psychiatric Association and American Arab
        Psychiatric Associations in Bahrain April 16, 2006.
        Evaluation of Psychiatric Trauma: International Congress on Law and Psychiatry, 7/7/05, Paris
        Evaluation of Sexual Abuse Allegations: International Congress on Law and Psychiatry, 7/7/05, Paris
        Problems in Child Custody Evaluations Dateline NBC April 15, 2005
        "Evaluating Child Custody Evaluations: Contested Allegations of Domestic Violence, Child Abuse, Superior
        Parenting Skills" Women's Bar Association of State of New York; June 8, 2004; Brooklyn, NY.
        "Doing Child Custody Evaluations" Bronx 18B Lawyers Retreat; Nov 2003; Mystic, CT.
        "Parental Alienation Syndrome" Bronx 18B Lawyers Retreat; Nov 2003; Mystic, CT.




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CLINICAL EXPERIENCE

1984-present Private practice (child, adult and forensic psychiatry).

2006-2008     Clinical Faculty NYU School of Medicine, Dept of Child Psychiatry and Mt Sinai
              School of Medicine

2003 -2004    Assistant Professor of Psychiatry, Mt. Sinai School of Medicine, Dept of Child
              Psychiatry

2002-2003     National Child Traumatic Stress Network, funded by SAMHSA and Assistant
              Professor of Psychiatry, Saint Vincents Hospital, NY Medical College, Dept of Child
              Psychiatry
                 °   Consortium for Effective Trauma Treatment, funded by NY Times Foundation

2001 -2002    Forensic Psychiatry Fellow, Saint Vincents Hospital, New York Medical College

2001          ADD and Behavioral Disorders Clinic: Child and Adult Psychiatry.

1999-2001     Sabbatical from psychiatry to work as a management consultant for
              PricewaterhouseCoopers.

1998-1999     Psychiatrist, Jewish Board of Family and Children's Services.

1997-1998     On-call work for On-Site Psychiatric Services at various hospitals including Metro-
              West Medical Center and Faulkner Hospital.

1996-1997     Vinfen Corporation-Child and adult psychiatry at Fall River State Hospital and
              Beverly Hospital.

1993-1996     Psychiatrist, on-call and locum tenens ward coverage Charles River Hospital,
              Solomon Carter Fuller and Corrigan Mental Health:.
              Different summers I went wherever there was the greatest need. During the academic
              year I returned to my research and teaching.

1987-1992     Psychiatrist for Scoville and Schwager which placed me at various state hospitals they
              staffed including Danvers State, Northhampton State, Cape and the Islands, Solomon
              Carter Fuller. I served as Acting Medical Director at Danver's State and at Cape and
              the Islands. As noted above, I went wherever there was the greatest need, and during
              the academic year I returned to research and teaching.




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                                                                                     Roy Lubit C V page 4
PUBLICATIONS
Book Chapters
Psychotropic medications and crime: The seasoning of the Prozac defense. With Michael Welner
and Jada Stewart (in press) In Mozayani, A & Raymon, L. (Eds) Handbook of Drug Interactions:        A
Clinical and Forensic Guide. Humana Press: New York, NY.
Ethics in Psychiatry in Sadock B. and Sadock V. (eds.) Comprehensive Textbook of Psychiatry. 9th
    edition. Phil: Lippincott, Williams & Wilkins 2009.

Assessing and Treating Traumatized Children in Hosen, Responding to Traumatized Children.
Palgrave 2006.
Cognitive Therapy of Children with PTSD, IBID
Child Custody Evaluations in K. Cheng and K. Myers (ed.) Child and Adolescent Psychiatrjz.' The
   Essentials. Lippincott Williams & Wilkins (2005).

Diagnosis and Treatment of Trauma on Children in K. Cheng and K. Myers (ed.) Child and
   Adolescent Psychiatry.' The Essentials. Lippincott Williams & Wilkins (2005).

Using Emotional Intelligence To Deal With Difﬁcult People and Organizations in Osland S. et a1
   (eds) The Organizational Behavior Reader (7th ed) Saddle River: Prentiss Hall.
Children, Disasters, and the September I Ith World Trade Center Attack (with Eth S.) in Norwood A
    and Ursano B (eds) Trauma and Disaster Response and Management. Wash DC: APA Annual
    Review of Psychiatry, Volume 22, 2003.
Forensic Evaluation of Trauma Syndromes by Lubit R, Hartwell N, van Gorp WG, Eth S. in Child
   and Adolescent Psychiatric Clinics of North America. 2002 Oct; II(4):823-57.
Ethics in Psychiatry (with Eth S. and Ladds B.) in Sadock B. and Sadock V. (eds) Comprehensive
    Textbook of Psychiatry. 8th edition. Phil: Lippincott, Williams & Wilkins. (2004)
Ofﬁce Politics (with Gordon R) in Kahn J. (ed.) Mental Health and Productivigz in the Workplace.
     2002.
Adolescent Moral Development (with Billick S.) in Rosner R. (ed.) Textbook of Adolescent
   Psychiatry (2003).
Juvenile Delinquency, (with Billick S.) in Rosner S. (ed.) Principles and Practice of Forensic
    Psychiatry (2003).
Child Custody Evaluations in Forensic Psychiatric/Psychological Assessments (in prep.)


Articles
Post Traumatic Stress Disorder in Children in eMedicine World Medical Library, 2010.
Acute Treatment of Disaster Survivors in eMedicine World Medical Library, 2010.
Post Concussive Syndrome. eMedicine World Medical Library, 2010.
Borderline Personality Disorder. eMedicine World Medical Library, 2010.

Sleep Disorders. eMedicine World Medical Library, 2009
Child Abuse and Neglect: Reactive Attachment Disorder. eMedicine World Medical Library, 2009.

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Review of Anxiety Disorders in eMedicine's Depression & Anxiety Feature Series, July 2006.
Impact of Trauma on Children (with Rovine D, DeFrancisci Land Eth S.) Journal         of Psychiatric
   Practice V9 #2 128-138 (March 2003).
Helping Disaster Survivors. E-Medicine World Medical Library, 2001.
PTSD in Children. E-Medicine World Medical Library, 2001.
Preserving Children's Protection While Enhancing Justice for Parents in Abuse and Neglect
   Evaluations by Lubit R., Billick S. & Pizarro R. APPL Journal V 30 No 2 (July 2002) pp287-290.
The Long Term Organizational Effects of Narcissistic Managers and Executives. Academy of
   Management Executive, Spring 2002.
Tacit Knowledge and Knowledge Management: The Keys to Competitive Advantage. Organizational
     Dynamics, winter 2001.
The Crimean Imbroglio. East European Review, August I995.
The Effects of Drugs on Decision-Making (with Bruce Russett). Journal of Conﬂict Resolution,
   March I984.


Books
Forensic Psychiatric/Psychological Assessments with Len Goodstein Ph.D. (in preparation).

Coping with Toxic Managers and Subordinates: Using Emotional Intelligence to Survive and Prosper
   (2003) Prentiss-Hall.
Developing Emotional Intelligence (in preparation)


Other Publications

"Using Emotional Intelligence to Deal with Difficult Client Personnel (and Colleagues)"Consulting
   to Management in press June 2004 v15 #2

"The tyranny of toxic managers: An emotional intelligence approach to dealing with difﬁcult
   personalities" Ivey Business Journal, spring 2004
"Curbing the Tide of Islamic Radicalism in Europe" White Paper requested by CIA 1/1/04.
Psychiatrist's Role in Involuntary Hospitalization. Commentary 2. Available at: http://
   www.virtualmentor.org or
   http://www.ama-assn.org/ama/pub/category/l 1 103.html
Book Review (with Billick S.) of Handbook of Neurodevelopmental and Genetic Disorders in
   Children, edited by Sam Goldstein Ph.D. and Cecil Reynolds Ph.D. (New York: The Guildford
   Press, I999) for The Journal of Psychiatry & Law.
Book Review (with Eth S.) of Children's Interests/Mother's Rights: The Shaping of America 's Child
   Care Policy, by Michel S (New Haven: Yale University: 1999) for Psychiatrjz    .



Book Review of The Big Five by Alexander Saveliev. MeiMO (Journal of the Institute for
   International Economics and International Relations), winter 1996.


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Book Review of Hidden Illness in the White House by Kenneth Crispell and Carlos Gomez. Politics
   and the Life Sciences, February 1991.
Seven Easy Peaces (with Catherine Perlmutter). Children Magazine, Rodale Press, September 1988.




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PRESENTATIONS

Assessing Forensic Evaluations, CME talk to Nassau County Bar Association December 15, 2010
Interview on Parental Alienation by Sarah Wallace of ABC Television November 30, 2010
Canadian Broadcasting Company, interviewed on television concerning Chilean Mining Disaster:
August 24, 2010
Canadian Broadcasting Company, interviewed by 8 of their radio stations concerning Chilean Mining
Disaster: August 24, 2010


Quoted in The McChrystal Effect: Mouthing Off To Your Boss Can Get You Fired: on
ABCnews.com June 24, 2010 http://abcnews.go.com/Business/MindMoodResourceCenter/mouthing-
off-boss-ﬁred/storv?id=10993015&Dage=2
Interviewed by Dow Jones concerning authoritarian managers. April 7, 2010
Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2010
Lectures on Psychiatry for Navy Physicians (ADHD, PTSD, Forensic Psychiatry, Ethics in
Psychiatry, Clinical Assessment of Children, Severe Personality Disorders), Columbia, Missouri
October 11 and 12, 2009.
Use of Narratives and Storytelling in Treating PTSD, Trauma Psychiatry & Psychology, International
Center For Psychosocial Trauma, Columbia, Missouri September 30, 2009
Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2009

Impact of the Lehman Crisis on People, Fox Business News, September 15, 2008
Assessing Forensic Evaluations Rose Seminar, Minneapolis September 11, 2008
Developing Emotional Intelligence Rose Seminar Minneapolis September 11, 2008
"Assessing and Dealing With Corporate Threats" at ATAP North East Chapter, June 23, 2008.
"Family Courts and Child Custody: A System Needing Change: Zigler Center at Yale April II, 2008
"Sex Abuse Evaluations" Symposium sponsored by Children and Family Law Committee of the Bar
Association of the City of NY, January 23, 2008

"Experiencing the Trauma of 9/1 and Understanding the Recovery" University of Missouri-
                                1


Columbia International Center for Psychosocial Trauma" St Louis June 29, 2006.

"Doing Forensic Evaluations" Joint Conference of the British Arab Psychiatric Association and
American Arab Psychiatric Associations in Bahrain April 16, 2006.
"Evaluation and Treatment of PTSD in Children" Joint Conference of the British Arab Psychiatric
Association and American Arab Psychiatric Associations in Bahrain April 16, 2006.
 "Evaluation and Treatment of PTSD in Children" The First Annual Medical Conference of the
lntemational Iraqi Medical Association; Dubai, UAE April 12, 2006.

"Doing Forensic Evaluations" The First Annual Medical Conference of the lntemational Iraqi
Medical Association; Dubai, UAE April 12, 2006.

"Assessing and Treating Emotional Trauma" at lntemational Academy of Law and Mental Health;
Paris July 2005.
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"Assessing Sexual Abuse Allegations" at International Academy of Law and Mental Health; Paris
     July 2005.
"New Thoughts on Leadership Development" at Society of Human Resource Management annual
   national meeting; San Diego June 20, 2005

"Dealing W. Toxic Managers" at NJ OD Network; Sharing Day; May 9, 2005
Problems in the Child Custody System on Dateline NBC April 15, 2005

"Group Dynamics and Decision Disasters" at annual meeting of In2In Thinking Network: Los
   Angeles, April 9, 2005
"Assessment of Dangerousness" Hudson River Psychiatric Hospital February 2, 2005

"Improving the Quality of Evaluations for Sexual Abuse" Queens ACS lawyers; January IO, 2005.
                                                   "
"Improving the Quality of Child Custody Decisions The Second National Battered Mother's
   Custody Conference; Albany; January 8, 2005.
"Evaluating Forensic Child Custody Evaluations" to Women's Bar Association of the State of New
   York; June 8, 2003; Brooklyn, NY.
"Assessing Dangerousness" Grand Rounds at Hudson River Psychiatric Center 4/7/04.
"Radical Islam in Europe: Ideological, Psychological and Political Foundations and Potential
     Responses" invited presentation to Workshop on Radical Islam in Europe sponsored by CIA
     Ofﬁce of Russian and European Analysis; McLean, VA Dec I2, 2003.
"Rethinking the Role of Psychology in Understanding Terrorism" invited presentation to Psychology
     of Terrorism Workshop sponsored by CIA Counterterrorism Center, Ofﬁce of Terrorism
     Analysis; McLean, VA Nov 21, 2003.
"Assessment and Treatment of Traumatized Children" Grand Rounds MSSM Pediatrics Nov 20,
     2003

"Phenomenology, Psychopathology and Treatment of Emotional Trauma" Grand Rounds Walter
     Reed Army Hospital, Nov I9, 2003
"Assessment and Treatment of Traumatized Children" Grand Rounds Pediatrics Elmhurst Hospital
     Nov I7, 2003
With John Kastan "Organization of Disaster Mental Health Services in Post 9/ I I New York City"
   Annual Meeting of APHA, San Francisco, November 15-19, 2003

"Doing Child Custody Evaluations" Bronx 18B Lawyers Retreat; Nov 2003.
"Parental Alienation Syndrome" Bronx 18B Lawyers Retreat; Nov 2003.
"Wide Ranging Impact of Emotional Trauma on Children"; William Allanson White Psychoanalytic
     Institute Sept 25, 2003
"Violence in the Workplace" UPN 9, 7/25/03.
"Terrorism" Chair of Panel, International Society of Political Psychology; Boston July 8, 2003.
"Mind of the Modern Day Terrorist" Paper Panel on Understanding Terrorism at the International
   Society of Political Psychology; Boston July 8, 2003.


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"Limiting the Trauma of Terrorism" Paper Panel on Political Violence and Trauma at the
   International Society of Political Psychology Boston; July 8, 2003
"Children and Disasters" American Psychiatric Association, San Francisco, May 20, 2003.
"Treatment of Trauma" Grand Rounds, Hudson River Psychiatric Institute, April 23, 2003
"Evaluation and Treatment of Children After Disasters" at Families, Trauma and Forensic Psychiatry
   Symposium at Walter Reed Army Hospital, April I6, 2003
"Children and Disasters" Maryland APA, April 9, 2003.
"Ethics in Psychiatry" Grand Rounds, Hudson River Psychiatric Institute, February 26, 2003
Chair of panel on "Biological and Chemical Terrorism" at John Jay College's symposium on
   Homeland Security After 9/ I I. January 23, 2003.
"Assessment and Treatment of Traumatized Children", Children's National Medical Center, Dec          I   I,
   2002.
"Children's Needs and Obstacles to Meeting Them After Disasters",     LA Child Development Center.
   November 23, 2002
"School Based Mental Health Screening" International Society of Traumatic Stress Studies
   November IO, 2002
"Assessment of Traumatized Children and Adolescents" International Society of Traumatic Stress
    Studies November 7, 2002
"Suicide and Suicide Prevention in Children and Adolescents" Safehorizon. Nov 5, 2002
"Fundamentalism and Terrorism" Group for the Advancement of Psychiatry November I, 2002
Bereavement and Trauma: Assisting Adolescents After Loss, Covenant House, NYC October 25,
    2002
"Living With Uncertainty and Violence: Helping Youth Cope With Trauma" J BFCS Symposium.
    Oct 7, 2002.
"Treatment of Emotional Trauma" Beth Israel Hospital,   3   half-day sessions in Sept. and Oct. 2002.
"Impact of 9/ I I" BBC Sept I2, 2002
"Long term impact of 9/ I I", NPR Sept 8, 2002
"Recognizing Troubled Children" Private Schools (HALB and HAFTR) September 3, 2002.
"Recognizing Troubled Children" NYC School Nurses, August 27, 2002
"Coping with Stress in the Modern World" NY Life Insurance, August 22, 2002
"Ethics and Leadership" Brookings Institution, Washington DC July 30, 2002.
"Treatment of Children Who Lose Parents" Easthampton Camp. July IO, 2002

"Assessing the Impact Of 9/ I I On Children in Schools" Meeting of NYC school psychiatrists and
supervising nurses. June 28, 2002
"Impact of WTC Disaster on Firefighters" CBS Evening News May 26, 2002
"Psychological Impact of Trauma" for Montclair NJ School District. May I6, 2002


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"Origins of Delinquent Behavior" at Update on Juvenile Delinquency for Society for Adolescent
   Psychiatry. May 11, 2002
"Impact of Violence On Child Development and Remedial Strategies" at Conference on "Responding
   to the crisis. .Partnering for Violence Prevention" Summit Country Children Services. April l6,
                 .


   2002

"Terrorism, Trauma and Treatment Options" for the S. Michigan branch of the International Society
    for the Study of Dissociation Annual Conference Livonia Michigan. April 12, 2002.
Public Radio WNYC: 20 minute interview on psychiatric impact of WTC Disaster,      1/ 1 8/02.

"Healing a Traumatized City", invited speaker at the symposium on "The Trauma of Terror in
   Children", Dec l, 2001 sponsored by the Southern California Society of Child and Adolescent
   Psychiatry and the Southern California Psychiatric Society.
NYl    Television: l hour interview program on psychiatric impact of WTC Disaster, 12/ 19/01.
Disaster Recovery: Worked with CEOs and HR to help companies recover from Sept l l, 2001
    disaster. Also gave presentations to groups of 5 to 170 workers: First American Title, NYC, Sept.
    14; Costa Kondylis, NYC, Sept 14; Credit Lyonnais, NYC Sept 21; Financial Models, NYC, Sept
    21; Coalition for the Homeless. Oct 3; Sadlier Publishing Oct 4; Queller, Fisher, Dienst Oct 10;
    Village Voice, Oct 17; May Davis Investment Bank, Nov. 5; NY Life Nov 12; Jacqueline Onassis
    H.S., Oct 19; PS 89, Nov 6; H.S. of Economics and Finance Nov 14, 2001.
"Juvenile Delinquency" invited speaker, Tri-State Forensic Psychiatry Review Course, 3/2/01.
Chairman of panel on "Political Psychology and War", annual meeting of the International Society of
   Political Psychology, Washington, DC 6/21/85.
"Altered Metabolic States and Decision-Making", annual meeting of the International Society of
Political Psychology, Toronto 6/25/ 84.
Discussant on papers on the "Effects of Alcohol and Drugs on Leadership Behavior", annual meeting
of the International Society of Political Psychology, Toronto 6/27/ 84.




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ORGANIZATIONAL AFFILIATIONS
2004-present Consultant to Association of the Bar of the City of NY Children and Law Committee
2007-present Consultant to Accountability Review Panel of NYC Administration for Children's
              Services
2008-present Member of the Forensic Panel (forensic psychiatrists who peer review their cases)
2007-present Giveanhour-offering services to war veterans needing PTSD treatment
2005-2006     Disaster and Trauma Issues Committee of Am Acad of Child and Adolescent Psych
2006-present Dept of Child Psychiatry, NYU School of Medicine
2004-present Dept of Psychiatry, Mt Sinai School of Medicine
2004-2006     American Academy of Child and Adolescent Psychiatry
2004-2005     NY State Interdisciplinary Forum on Mental Health and Family Law
2004-present Consultation Cadre of the School Mental Health Project of UCLA
2003 -present Consortium for Research on Emotional Intelligence in Organizations
2002-2004     Senior Consultant on Psychoeducation and Program Development, Center for Social
              and Emotional Education (www.cseenet)
2002-2003     Senior Researcher, Center on Terrorism and Public Safety. John Jay College, CUNY
2003 -2005    Consultant to International Relations and Terrorism Committees of the Group for the
              Advancement of Psychiatry
2002-2004     Manhattan Task Force to End Child Abuse and Domestic Violence
2001-2003     National Child Traumatic Stress Network
2001-2003     New York Times Consortium for Effective Trauma Treatment
I985 I991    Institute of Social and Behavioral Pathology, fellow.
I98 I- I988   American Psychiatric Association, member.
I983 I987    International Society of Political Psychology, member.
I982 present Yale Edward Zigler Center in Child Development and Social Policy

AWARDS

1990-1991     Harvard-MacArthur Scholar in International Security.




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                                                                                   Roy Lubit CVpage 12
ORGANIZATIONAL DEVELOPMENT EXPERIENCE

1999-2001    Consulted to: Mitsubishi, Delta Airlines, PricewaterhouseCoopers, Morgan Stanley,
             Sadlier Publishing, First American Title, Costa Kondylis, Credit Lyonnais, Financial
             Models, Coalition for the Homeless.

1999-2001    Management consultant in PricewaterhouseCoopers' Strategic and Organizational
             Change practice.

1997-1998    Visiting Scholar at Columbia Business School, New York, NY.

1997         Ph.D. in Political Science, GSAS, Harvard University, Cambridge.
             Ph.D. dissertation on the role of learning and politics in organizational change.

TEACHING EXPERIENCE

2005-        Supervisor for residents in child psychiatry,   NYU School of Medicine Department of
             Psychiatry

2003-2004    Supervisor for residents in child psychiatry and medical students at Mount Sinai
             School of Medicine

2001 -2003   Supervisor for residents in psychiatry at St. Vincent's Hospital.

2001         Adjunct Assistant Professor, Zicklin School of Business, New York, NY.
             Taught course on Managerial and Leadership Skills in the MBA program.

1990-1996    Teaching fellow at Harvard University, for International Conﬂicts in the Modern
             World, Ethics and International Relations, Europe After 1945, and The Stalin Era.

1998         Teaching assistant at Columbia Business School, for Organizational Behavior and
             Building the Learning Organization.




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                                     BERNARD F. PETTINGILL, JR., PH.D.
                                     Consulting Economist

                                 EDUCATION


                                 Manchester University
                                 Manchester, England

                                 Graduate, January 1977, Ph.D. Economics




                                 Department of Economics and Social Administration
                                 Dissertation: "CostBenefit Analysis of the Treatment of Arthritis   
                                                                                                          A
                                 Comparison of Five Hospitals"

                                 Tulane University
Con'roc'r                        New Orleans, Louisiana

                                 Graduate, June 1973 MPH Master Public Health
                                                                   




ADDRESS:                         Department of Health Economics and Medical Care Administration
#93 SANDBOURNE LANE              Loyola University
                                 New Orleans, Louisiana
PGA NATIONAL
PALM BEACH GARDENS, FL 33418     Graduate, June 1971. MBA       
                                                                     Economics, June 1969
                                 BBA   
                                           Business Administration


P HON E:
                                 ORGANIZATIONS
561 -6220330

561 3467828                    -   Member, American Society of Health Economists, 2008-Present
888-577-7747                     -   Member, City of Palm Beach Gardens Budget Committee, 2007201 2
                                 -   Member, AAEFE, 1989-Present
                                 -   Member, American Economic Association, 1983-Present
                                 -   Member, National Association of Forensic Economists, 1989Present
FAX:
                                 -   Member, National Association of Business Economists, 1990-Present
561 6242854
                                     (Health Roundtable)
                                 -   Member, Health Economics Study Group, Great Britain, 1973-Present
WEB PAGE:                        -   Member, Gideons International, 1978-Present (Past President)
                                 -   Member, Rotary International,          198132012
www.bpeﬁingil|.com
                                 -   Referee Journal of Forensic Economics (2 years)
EMAIL:                           -Licensed, State of Florida and State of Louisiana, Health and Life
                                     Insurance. No. 43972-6317 (FL)
biffpe'rf@gmoil .com
                                 ~Associate Member, National Structured Settlements Trade Association
     22-01023-tmd Doc#1-21 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 33
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    Bernard F. Pef'ringill, Jr., Ph.D.
    Consulting Economists
    Page 2

EXPERIENCE

1985      'ro   Present                  FORENSIC ECONOMIST/MEDICAL 8. PROFESSIONAL PRACTICE
                                         Finoncio| Anolysis, Structured Settlement Negotiations

1   988   'ro   1   998                  FLORIDA INSTITUTE OF TECHNOLOGY
                                         Groduote Business School
                                         Treasure Coast Graduate Center
                                         Stuart, Florida.

                                         Professor of Economics Taught Advanced Macroeconomics,
                                                                            -




                                         Managerial Economics, Health Care Economics, Advanced
                                         Microeconomics (Retired)

                                         PALM BEACH ATLANTIC COLLEGE
1   987 to 988  1


                                         Rinker School of Business
                                         West Palm Beach, Florida

                                         Professor of Economics Taught Microeconomics, Macroeconomics,
                                                                            -




                                         Free Enterprise System and International Economics

                                         UNIVERSITY OF SOUTHWESTERN LOUISIANA
1   980   'ro   1   987
                                         Lafayette, Louisiana.
                                         College of Business Administration
                                         Associate Professor Taught undergraduate and graduate courses
                                                                    -




                                         in Economics, Finance and Management

                                         LSU MEDICAL CENTER
1978 to 1980
                                         New Orleans, Louisiana
                                         Department of Medicine

                                         Associate Professor and Administrative Assistant Principal duties at
                                                                                          




                                         Medical School included lectures in Medical Economics, grant
                                         writing, and computer-assisted data analysis for drug research

1977 to 1978
                                         UNIVERSITY OF NEW ORLEANS
                                         New Orleans, Louisiana
                                         Department of Economics and Management

                                         Assistant Professor Taught undergraduate courses in Economics
                                                                -




                                         and Health Care

                                         UNIVERSITY OF MANCHESTER
1975 to 1977
                                         Manchester, England
                                         Department of Economics and Social Administration

                                         Research Associate Dual appointment: Lecturer in Economics and
                                                                        




                                         Course Coordinator of the Administrative Development Course for
                                         Hospital Administrators

1974 to 1975                             CENTRE FOR STUDIES IN ECONOMICS AND SOCIAL POLICY
                                         London, England

                                         Research Fellow Primary task was a case study of Wigan
                                                            




                                         Community Health Council. Research published in a sequel to the
                                         book, Politics of Consumer Representation, by R. Klein and J. Lewis,
                                         Centre for Studies in Social Policy, London, England.
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 Bernard F. Pettingill, Jr., Ph.D.
 Consulting EconomisTs
 Page 3

PUBLICATIONS


Peﬁingill, B. "Wigon Community HealTh Council." in CommuniTv Heolih Councils: Four Cose Sludies: ed. Jone'r Lewis
          (Centre for Studies in Sociol Policy, Publ.) 1976 pp. 87-98.


Pettingill, B. "Cost Effectiveness of Chiropractic Treotment in Louisiono         
                                                                                      A Feasibility Study." Louisiono Journol of
          Chiropractics, SeptemberOctober 1977 pp.              91 O.




Pettingill, B. "Review of o History of Economic Thought." by Williom          J. Borber. Review of Business and Economic
          Research XIII, Fall I977 pp. I I II 12.


Pettingill, B. "A Feasibility Study of the Cost-Effectiveness Analysis of Rheumatoid Arthritis in Great Britain." Ph.D.,
          Thesis, Manchester Business School Publication, January I977, p. 275.



Pettingill, B.F. "Cost-Effectiveness Analysis in the Hospital." Dimensions in Health Services         Canada, January I978,
          pp. 19-20.


Pettingill, B. and Langdon, C. "View on Youth Employment: A Survey of Businessmen and Vocational Counselors in
          the Greater New Orleans Area." Business Review Louisiana Tech Publishers, March I979, pp. 2328.


Pettingill, B. "Physicians' Estimates of Disability vs Patients' Reports of Pain." Psychosomatics, December I979, Vol.20,
          No. I2, pp. 827-830.



Pettingill, B. and Langdon, C. "The Problem of Teenage Workers as Viewed by the New Orleans Businessmen."
          Louisiana Business Survey, Fall I979. pp.68.


Langdon, C., Pettingill, B.F., Bhatia, S. "Vocational-Technical Education in Region of Louisiana." Research Study 44,
                                                                                               I




       Division of Business and Economic Research, University of New Orleans, May I982. p. I24.



Payne, Stephen L and Pettingill, B.F. "How Much Theft Can You Tolerate?" Securiﬂ Management, August I982.
        pp. IOOIO2.


Langdon, Chanes, Pettingill, B.F., and Bhatia, S. "Vo-Tech in Metro New Orleans: The Student and the Schools."
       Louisiana Business Survey, Summer I982. pp. 9-I I.


Pettingill, B.F., Bhatia, S., and Langdon, C. "The Counselor-Firstline Manager in the Vocational Technical Educational
          System." Vocational Guidance Quarterly, December I985. pp. I4I 7.


Payne,   S.   and Pettingill,   B.F. "Theft   Perceptions." The Personnel Administrator. October I983. pp. IO2-I I I.


Pettingill, B.F. and Payne, S. "Shrinkage-Another Area of Supply Cost." Hospital Topics. May-June I984. pp. I2-I5.
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  Bernard F. Pettingill, Jr., Ph.D.
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PUBLICATIONS


Pettingill, B.F., e1   0|.   "A Hospital Linen Cost Control System." Southern Hospitals, MayJune i984. pp. 62-64.


Pettingill, B.F., ond Stafford, John, MD. "The Insurance Carriers Can Contribute to the Reduction of Health Care
            Costs." City Business. January 1984. pp. 4-5.


Pettingill, B.F., and Watson, Marie. "One System of Health Care Delivery Hospital Administrators Cannot Afford to
            Overlook." Hospital Topics. September 1984. pp. l l l-l l4.


Pettingill, B.F., and Westell, Hariette. "Management of Diagnostic Related Groups." Hospital Topics. Vol. 62, No.4.
           August 1984. pp. 6870.


Pettingill, B.F. "Competition for the Consumer." Citybusiness. July i984. pp. 1416.


Pettingill, B.F. "Award Winning Tax Angle." Tax Angle. Vol. X, No. 4. April i984. pp 28-29.


Pettingill, B.F., and Payne, S. "Coping with Organizational Politics" Supervisory Manaaement. April i986. pp, 2832.


Pettingill, B.F., and Payne, S. "Obstacles to Improving Student Creativity in Management for Business." Journal of
            Education for Business. March i986. Vol. 61 No. 6. pp. 271-275.


Pettingill, B.F., and Payne, S. "Management and Values Education." Published in SMA Proceedings. November i985.
            pp. 349-352.


Pettingill, B.F., and Perrin, Warren A. 'Estimating Future Medical Maintenance Expenses." Louisiana Bar Journal.
            October i986. pp., 149-152.


Pettingill, B.F., and Payne, S. "Management and Value Education." Organizational Behavior Teaching Review.
            Vol. XI, No. i. 1986-87. pp. 18-27.


Pettingill, B.F., and Payne, S. "Faculty Perceptions of Student Values." Sppthern Management Assppigtipn. Dennis F.
            Ray led.) pp. 437-440.


Pettingill, B.F. "How an Economist Sets a Value on Human Life." Editorial. Palm Beach Post [West Palm Beach, FL]
           May i989.


Pettingill, B.F., and Eriksen, Michael. "Case Management: Evaluating a Firm's Caseload Using a CostBenefit
            Approach." The Trial Lawyer. Vol. 22, No.5. September-October i999.
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  Bernard F. Pettingill, Jr., Ph.D.
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PUBLICATIONS


                                    Value of Household Services Damages: Inclusion of Nighﬁime Pro'recﬁon and Care
PeTTingill, B.F., "EsTimoﬁng The Full
           Services. "The Earnings Analyst, Vol. 16, Fall 2019.


Lichiblau, Craig M.D., Pei'ringill, B.F., Cardillo, Trish, Meli, Gabrielle, and Warburion, Christopher. "Cosi of Fuiure
          Medical Care in The Uni'red Siaies: The Unique Coniribuiion of The PhysiaTrisT." InTernaTional Journal of
          Physical Medicine & RehabiliTaTion. Vol. 7, Issue 4, 2019.


Peiiingill, Bernard F., Goldenberg, David |., Tewes, Federico R.. "Life ExpecTancy: A Brief lnTernaTional Comparison."
            InTernaTionaI Journal of Medical Science and Clinical InTervenTion. January 24, 2020.



Peiiingill, Bernard F. "A MulTidisciplinary Approach To Reducing LifeTime Medical CosTs of CaTasTrophically Injured
            PaTienTs in LiTigaTion." World Journal of Physical and RehabiliTaTion Medicine, Vol. 4, Issue l, February i8,
           2020.



Peiﬁngill, B.F., Tewes, Federico R, "Analysis and ForecasT of Nursing Care CosTs." IMedPub Journals, Vol.5, No. 1:78,
           May l i, 2020.


PeTTingill, B.F., Tewes, FR, "Exploring DocTor ShorTages during and afTer The Pandemic of 2020: Some Dire
            Consequences buT Few SoluTions." HSOA Journal of Physical Medicine, RehabiliTaTion & DisabiliTies, 2020
            6:048, June 5, 2020


PeTTingill, Bernard F., "InTerneT Telemedicine is Forever Changing TradiTionaI Medicine in The UniTed STaTes."
            InTernaTional Journal of OrThopaedics Research, Vol.3, Issue 3, 143, OcTober 5, 2020.



Peiiingill, Bernard F., PhD and Tewes, Federico R., BA, "Follow The Money: Life Insurance AgenT Commissions and
            How To ProTecT Them." News and Analysis of The Life and HeaITh Insurance IndusTry, ThinkAdvisor.
            November 2020.


Peiiingill, Bernard F., Jr., PhD and Tewes, Federico R., B.A. "WhaT ATTorneys Should UndersTand abouT Medicare SeT
            Aside AlIocaTions: How Medicare SeT-Aside AllocaTion is Going To be Used To AcceleraTe SeTTIemenT Claims
            in CaTasTrophic Personal Injury Cases." Clinical Medicine and Medical Research, CMMR 2 (2), I21 -I 24
            (202i ), February 5,2021.


PeTTingill, Bernard F. and Tewes, Federico H. "FacTors To Consider During and AfTer     Job   Loss or DisplacemenT from
           Coronovirus 2020." Journal of Psychology and Neuroscience. July I2, 2020.


Peiiingill, Bernard Jr., "Why OrThopedic Surgery for Eldeny IndicaTes ThaT The Maryland ToTaI CosT of Care Model
            Should be Universally Adop'red." Journal of HeaITh Care and Research, Vol II, Issue I. April 26, 202i.
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      Bernard F. Pettingill, Jr., Ph.D.
      Consulting EconomisTs
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PATENTS


Tm     Based Scen'red Candle: Pub No. U.S. 2008/0157431 A/July 3, 2006.
Filed April            1   1,   2006. Granted July 3, 2008.

Doolys, Reg. No. 3,757,315. Dual Eyewear S'rrap.
Filed/First Use in Commerce September                         l   l, 2007.

Puzzle 8       
                   Awaiting Publication DatePandemgear                       
                                                                                 Awaiting Publication Date\\


PHONE/ANDROID APPLICATIONS


JDSM      
              Jury Deliberation Selection Measure. 5 Minute Patented Video used as a Jury Selection Tool. (Patent No. U.S.
13/712,354. 2014-06-12)

  Game International Financial Games -l O Modules to Teach Finance to Children. Reg. No. 3,984,206.
iFi                
                                                                                                               First used in
Commerce 07-01-2010.

ITWEET  Interactive Program to Translate Tweet Abbreviations into Common English Phrases. (Patent Applied for July
           




2015), www.youtube.com/watch?4=44aV2Thx4e       A8+ = 75$



MOVIES AND EDITORIALS


Executive Producer                    




"City of A Million Dreams" 89 minute on History of New Orleans and Jazz Through Funerals. See www.NYTimes.com/
video/opinion/ l 000000007768852 YouTube.           




"Don't Let the World Swallow You," First in a Series of Conversations with God, by James Tuthill, J.D. (9781689519267)
published January 2020. The Greatest Heroes in the Bible.
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certificate of service that complies with all applicable rules.

Andrew Grant on behalf of Mark Bankston
Bar No. 24071066
aj@fbtria|.com
Envelope ID: 63104388
Status as of 4/1/2022 3:25 PM CST

Associated Case Party: NEIL HESLIN

Name                   BarNumber    Email                         TimestampSubmitted     Status

Avishay Moshenberg                  avi.moshenberg@mhllp.com      3/30/2022 2:07:04 PM   SENT
Mark D.Bankston                     mark@fbtria|.com              3/30/2022 2:07:04 PM   SENT
William R.Ogden                     bi||@fbtria|.com              3/30/2022 2:07:04 PM   SENT


Associated Case Party: ALEXEJONES

Name                 BarNumber   Email                  TimestampSubmitted     Status

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Federico Reynal      24060482    areynal@frlaw.us       3/30/2022 2:07:04 PM   SENT


Associated Case Party: INFOWARS LLC

Name                 BarNumber   Email                  TimestampSubmitted     Status

Jacquelyn W.Blott                jblott@jb|ottlaw.com   3/30/2022 2:07:04 PM   SENT


Associated Case Party: OWEN SHROYER

Name                 BarNumber   Email                  TimestampSubmitted     Status

Jacquelyn W.Blott                jblott@jblottlaw.com   3/30/2022 2:07:04 PM   SENT


Case Contacts

Name

Warren Lloyd Vavra

Velva Lasha Price
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Andrew Grant on behalf of Mark Bankston
Bar No. 24071066
aj@fbtria|.com
Envelope lD: 63104388
Status as of 4/1/2022 3:25 PM           CST
Case Contacts

William Ogden                     bil|@fbtrial.com                   3/30/2022 2:07:04 PM   SENT
Andrew Grant                      aj@fbtria|.com                     3/30/2022 2:07:04 PM   SENT
Jacquelyn W.Blott                jblott@jblottlaw.com                3/30/2022 2:07:04 PM   SENT


Associated Case Party: FREE SPEECH SYSTEMS LLC

Name                BarNumber   Email                   TimestampSubmitted     Status

Jacquelyn W.Blott               jblott@jblottlaw.com    3/30/2022 2:07:04 PM   SENT
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                                                                                       of Travis County, Texas

                                                                                     AR     APR 01 2022
                                      D-1-GN-18-001835                                At        3am               M.
                                                                                       Velva L. Price, District Clerk

  NEIL HESLIN and                                    §                     IN DISTRICT COURT           0F
  SCARLETT LEWIS                                     §
                                                     §                    TRAVIS COUNTY, TEXAS
  VS.                                                §
                                                     §                      2615i DISTRICT COURT
  ALEX E. JONES, INFOWARS, LLC,                      §
  FREE SPEECH SYSTEMS, LLC, and                      §
   OWEN SI-IROYER                                    §

                                       D-1-GN-18-001842
                                                                            IN DISTRICT COURT OF
                                                    §§§§§§§
   LEONARD POZNER AND
   VERONIQUE DE LA ROSA
                                                                           TRAVIS COUNTY, TEXAS
   VS.
                                                                            345th DISTRICT COURT
   ALEX E. JONES, INFOWARS, LLC,
   and FREE SPEECH SYSTEMS, LLC


                     ORDER 0N PLAINTIFFS' MOTION FOR SANCTIONS
                         REGARDING CORPORATE DEPOSTION


         On this day, the Court considered Plaintiffs' Motion for Sanctions Regarding


  Corporate Deposition. For the reasons below, the Court ﬁnds
                                                              that the Motion should be

  granted.

                                             BACKGROUND

         Defendants' pattern egregious discovery abuse is well-detailed in the many prior

  orders of this Court} but a brief history of Plaintiffs' attempts to take a corporate deposition

  is as follows:


                                                                                                  consistent
  1
   In addition to discovery abuse in these cases, the Court has considered Defendants'
                                                        abuse in other cases and courts. First, described
                                                                                               as
  pattern of bad faith litigation tactics and discovery

                                                       1
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         0n August 31, 2018, the Court ordered Defendants to appear for depositions in Mr.

 Heslin's defamation claim (D-1~GN-18-001835). Defendants refused to appear for the

                                                              ﬁled a Motion for Sanctions,
 depositions or respond to written discovery. After Plaintiff

 Defendants initiated an appeal.

         On January 25, 2019, this Court ordered Defendants to respond to court-approved

 discovery requests and appear for depositions in Ms. Lewis' IIED case (D-1-GN-18006623).

  Defendants presented Rob Dew as a corporate designee, who was unable to give any

                                                                           an lnfoWars
  testimony. The Court chastised "the failure of the defendants to present
                                                                                   that "it
  corporate representative who has a clue about lnfoWars as a corporation," noting

  was a pretty meaningless deposition." Defendants agreed to stipulate to Plaintiff's petition

  for the purposes of the TCPA motion and voluntarily pay $8,100 in attorney's fees to avoid

  sanctions at that time.

                                                                             defamation case
         Following the events in Lewis, the premature appeal in Mr. Heslin's

  was dismissed for lack of jurisdiction. Upon remand to this Court in the fall of 2019, lnfoWars

                                                                          this Court assessed
  again refused to respond or appear for deposition. On October 18, 2019,




  in this Court's prior orders, lnfoWars has also committed discovery abuse in Fontaine v. lnfoWars,
                                                                                    written discovery. After
  LLC, et aI. (Dl-GN-18-1605). In that case, lnfoWars failed to timely answer
  lnfoWars provided untimely and evasive responses, Mr. Fontaine           was  forced to bring a motion to
                                                               awarded sanctions and attorney's fees on
  compel InfoWars' compliance, for which this Court
                                                                 have repeatedly violated discovery orders
  September 15, 2021. The Court also notes that Defendants                                              Hook
                                                                                              of
  in Laﬁerty v. jones, a similar lawsuit brought after the instant cases by a different set Sandy
                                                                          in a default judgment   on liability
  parents in the Superior Court of Connecticut, ultimately resulting
                                                                                            that Defendants
  several weeks after this Court's entry of default judgment. The Court further notes
                                                                                              in Mr. Heslin's
  have been sanctioned by the Texas Court of Appeals for bringing a frivolous appeal
                                                                                            declared that he
   case. Finally, as noted in the Court's default judgment order, Mr. Iones has publicly
   considers these lawsuits to be a "show trial," showing clear signs that Defendants' discovery
                                                                                                       which
   violations are the result of bad faith. Mr. jones' recent deposition conﬁrmed these signs, during
   Mr. jones testified about his indifference to his discovery obligations.



                                                       2
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 sanctions of $25,875, while also ruling that Plaintiff's burdens were taken as established for

 the purposes of the TCPA motion.

          On October 18, 2019, this Court ordered Defendants to appear for deposition in Mr.

 Heslin's IIED case (D-1-GN-18-004651).2 Again, Rob Dew was produced as the corporate

                                                               to offer any meaningful
 designee. Again, Mr. Dew had not been prepared and was unable
                                                                                 and held
 testimony. 0n December 20, 2019, the Court assessed sanctions totaling $100,000

 the Defendants in contempt for intentionally disobeying the order. At that time, the Court

  held a default judgment under advisement based on representations by Defendants that

  discovery would be promptly supplemented during the appellate stay.

          All the cases were remanded in Iune 2021. Defendants had not taken any steps to

  address the discovery situation during the appeal, and for the next three months following

  remand, Defendants ignored Plaintiffs' demands for compliance. On September 27, 2021,

  this Court issued a default judgment on liability and awarded attorney's fees of $45,925.

                      THE DECEMBER 3, 2021 CORPORATE DEPOSITION

           Following the default judgment, Plaintiffs again sought the Defendants' depositions

  to secure testimony relevant to the trial on compensatory and punitive damages. Defendants

                                                            of Ms. Karpova's deposition
  produced Daria Karpova for the deposition. The transcript

  shows that she was not prepared to discuss any of the eight topics for which she had been

                                                                        for the discovery
  designated. Her testimony as a whole demonstrated profound disrespect

                                                         and egregious, especially given the
  process. Ms. Karpova's lack of preparation was ﬂagrant

  repeated refusal to prepare a designee.




  2
      Subsequently consolidated with D-1-GN-18-001835.

                                                  3
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        On January 14, 2022, the Court heard argument on Plaintiffs' Motion for Sanctions

                                                                    awarded costs, and
 concerning Ms. Karpova's deposition. The Court granted the Motion,

 ordered the Defendants to appear one more time. The Court provided detailed instructions

 for preparing the designee(s).

                      THE FEBRUARY 2022 CORPORATE DEPOSITION

        On February 14-15, 2022, Defendants presented Brittany Paz as the designee in both

 the Sandy Hook and Fontaine cases. A review of the deposition transcript shows that

  Defendants ﬂagrantly disobeyed the Court's order in preparing Ms. Paz. As a result, she was

  unable to give adequate testimony on any of the topics. Plaintiffs have now faced five non-

                                                        the heart of their claims despite every
  appearances at corporate depositions on the issues at

  remedial action taken the Court, including the severe sanction of default and over $200,000

  in cumulative attorney's fees.

                                           FINDINGS

         The Court finds that Defendants have intentionally thwarted the legitimate discovery

                                                               of Defendants' obstruction
  process in these cases. The egregiousness and repetitiveness

  exhibits a disregard for and disrespect of the integrity of this Court and our judicial system.

  Plaintiffs' discovery of facts necessary to properly present their claim for damages has been

                                                           severe action from this Court,
  irreparably prejudiced in virtually all respects. Absent

  Defendants will ultimately profit from their sabotage of the discovery process.
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         The Court therefore ORDERS that:

         1.         Pursuant to Rule 215(b)(1), the Court disallows any further discovery by

                                                                                  is
 Defendants. Any obligation of the Plaintiffs to respond to any pending discovery

 terminated.

         2.         Pursuant to Rule 215(b) (2), the Court orders that Defendants shall pay all of

 the expenses of discovery and taxable court costs in these lawsuits. Plaintiffs
                                                                                 shall submit

                                                                                             or
  evidence setting forth any court costs, expenses, or attorney's fees relating to discovery

                                                                       awarded in any prior order
  discovery motions, excepting those amounts which were already

  of the Court. Defendants may object to the amount within seven days after Plaintiff's ﬁling.

         3.         Pursuant to Rule 215(b] (3), the Court orders that designated facts shall be

  taken to be established for the purposes of the action. Speciﬁcally, the jury
                                                                                will be instructed

                                                                                          in favor
  that any factual dispute relating to the following topics shall be taken as established

  the Plaintiffs:

                                                                   in Plaintiffs' petitions.
                    Sourcing and research for the videos described
              o     Individuals involved in the production of the videos described in
                    Plaintiffs' petitions.
              o     Internal editorial discussions regarding lnfoWars' coverage of the
                    Sandy Hook Elementary School shooting.
                    The company's knowledge of the Plaintiffs.
                    The audience reach of the videos described in Plaintiffs' petitions.
                    The documents produced by the company in response to Plaintiffs'
                    discovery requests.
                    Efforts made by the company to preserve potential evidence.
                    The company's business structure and relationship with other
                     parties.


          Dated                  l       #2021.
                    ﬂpﬂll.
                                                         Mag~94."
                                                         Hon. Maya Guerra Gamble




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